        Case 2:22-cv-01431-JJT Document 4-7 Filed 08/23/22 Page 1 of 2




 1
 2
 3
 4
 5
 6
 7                               UNITED STATES DISTRICT COURT
 8                                   DISTRICT OF ARIZONA
 9 Arizona Broadcasters Association, et al.;          Case No.: _______
10
                   Plaintiffs,
11                                                   [PROPOSED] ORDER GRANTING
                   vs.                               PLAINTIFFS’ MOTION FOR
12
                                                     PRELIMINARY INJUNCTION
13 Mark Brnovich, in his official capacity as
   Attorney General for the State of Arizona, et
14 al.;
15
                   Defendants.
16
17
18          Pursuant to Federal Rule of Civil Procedure 65(a), and having reviewed Plaintiffs’
19 Motion for Preliminary Injunction enjoining Defendants from enforcing of A.R.S. § 13-
20 3732, also known as HB2319, any response thereto, and the arguments of the parties, it is
21 hereby
22          ORDERED that the motion is GRANTED.
23          Defendants are hereby enjoined from enforcing A.R.S. § 13-3732 because Plaintiffs
24 have shown their constitutional challenge to the statute is likely to prevail on the merits,
25 that absent preliminary relief Plaintiffs are likely to suffer irreparable harm in that their
26 exercise of their First Amendment rights to record video of law enforcement activities will
27 be chilled, that the balance of equities tips in Plaintiffs’ favor, and that an injunction is in
28 the public interest. More specifically, Plaintiffs have shown they are likely to succeed on
        Case 2:22-cv-01431-JJT Document 4-7 Filed 08/23/22 Page 2 of 2




 1 their claims that A.R.S. § 13-3732 violates the First Amendment as a content-based
 2 prohibition on expressive activity that does not survive strict scrutiny or intermediate
 3 scrutiny, and that the statute is void for vagueness as it fails to provide a person of ordinary
 4 intelligence a reasonable opportunity to know what is prohibited and it impermissibly
 5 delegates basic policy matters to law enforcement officers with the attendant dangers of
 6 arbitrary and discriminatory application.
 7         Defendants shall not take any action to enforce A.R.S. § 13-3732 pending further
 8 order of this Court.
 9         SO ORDERED.
10
11 DATED this _____ day of __________, 2022.
12
13                                                     _____________________________
14                                                     United States District Judge
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                   2
